        Case 22-1060, Document 175-1, 09/08/2023, 3566012, Page1 of 20




15-3135-cv (L)
Waldman v. Palestine Liberation Organization

                   UNITED STATES COURT OF APPEALS

                          FOR THE SECOND CIRCUIT
                   ____________________________________

                             August Term 2022
                            Argued: May 3, 2023
                         Decided: September 8, 2023

        Docket Nos. 15-3135-cv (L), 15-3151-cv (XAP), 22-1060-cv (Con)
                  ____________________________________

 EVA WALDMAN, REVITAL BAUER, INDIVIDUALLY AND AS NATURAL GUARDIAN OF
PLAINTIFFS YEHONATHON BAUER, BINYAMIN BAUER, DANIEL BAUER AND YEHUDA
BAUER, SHAUL MANDELKORN, NURIT MANDELKORN, OZ JOSEPH GUETTA, MINOR,
      BY HIS NEXT FRIEND AND GUARDIAN VARDA GUETTA, VARDA GUETTA,
   INDIVIDUALLY AND AS NATURAL GUARDIAN OF PLAINTIFF OZ JOSEPH GUETTA,
NORMAN GRITZ, INDIVIDUALLY AND AS PERSONAL REPRESENTATIVE OF THE ESTATE
OF DAVID GRITZ, MARK I. SOKOLOW, INDIVIDUALLY AND AS A NATURAL GUARDIAN
  OF PLAINTIFF JAMIE A. SOKOLOW, RENA M. SOKOLOW, INDIVIDUALLY AND AS A
NATURAL GUARDIAN OF PLAINTIFF JAIME A. SOKOLOW, JAMIE A. SOKOLOW, MINOR,
BY HER NEXT FRIENDS AND GUARDIAN MARK I. SOKOLOW AND RENA M. SOKOLOW,
  LAUREN M. SOKOLOW, ELANA R. SOKOLOW, SHAYNA EILEEN GOULD, RONALD
 ALLAN GOULD, ELISE JANET GOULD, JESSICA RINE, SHMUEL WALDMAN, HENNA
 NOVACK WALDMAN, MORRIS WALDMAN, ALAN J. BAUER, INDIVIDUALLY AND AS
   NATURAL GUARDIAN OF PLAINTIFFS YEHONATHON BAUER, BINYAMIN BAUER,
 DANIEL BAUER AND YEHUDA BAUER, YEHONATHON BAUER, MINOR, BY HIS NEXT
   FRIEND AND GUARDIANS DR. ALAN J. BAUER AND REVITAL BAUER, BINYAMIN
   BAUER, MINOR, BY HIS NEXT FRIEND AND GUARDIANS DR. ALAN J. BAUER AND
REVITAL BAUER, DANIEL BAUER, MINOR, BY HIS NEXT FRIEND AND GUARDIANS DR.
ALAN J. BAUER AND REVITAL BAUER, YEHUDA BAUER, MINOR, BY HIS NEXT FRIEND
    AND GUARDIANS DR. ALAN J. BAUER AND REVITAL BAUER, RABBI LEONARD
       MANDELKORN, KATHERINE BAKER, INDIVIDUALLY AND AS PERSONAL
        Case 22-1060, Document 175-1, 09/08/2023, 3566012, Page2 of 20




  REPRESENTATIVE OF THE ESTATE OF BENJAMIN BLUTSTEIN, REBEKAH BLUTSTEIN,
   RICHARD BLUTSTEIN, INDIVIDUALLY AND AS PERSONAL REPRESENTATIVE OF THE
 ESTATE OF BENJAMIN BLUTSTEIN, LARRY CARTER, INDIVIDUALLY AND AS PERSONAL
    REPRESENTATIVE OF THE ESTATE OF DIANE ("DINA") CARTER, SHAUN COFFEL,
    DIANNE COULTER MILLER, ROBERT L COULTER, JR., ROBERT L. COULTER, SR.,
  INDIVIDUALLY AND AS PERSONAL REPRESENTATIVE OF THE ESTATE OF JANIS RUTH
COULTER, CHANA BRACHA GOLDBERG, MINOR, BY HER NEXT FRIEND AND GUARDIAN
 KAREN GOLDBERG, ELIEZER SIMCHA GOLDBERG, MINOR, BY HER NEXT FRIEND AND
  GUARDIAN KAREN GOLDBERG, ESTHER ZAHAVA GOLDBERG, MINOR, BY HER NEXT
  FRIEND AND GUARDIAN KAREN GOLDBERG, KAREN GOLDBERG, INDIVIDUALLY, AS
 PERSONAL REPRESENTATIVE OF THE ESTATE OF STUART SCOTT GOLDBERG/NATURAL
GUARDIAN OF PLAINTIFFS CHANA BRACHA GOLDBERG, ESTHER ZAHAVA GOLDBERG,
   YITZHAK SHALOM GOLDBERG, SHOSHANA MALKA GOLDBERG, ELIEZER SIMCHA
 GOLDBERG, YAAKOV MOSHE GOLDBERG, TZVI YEHOSHUA GOLDBERG, SHOSHANA
MALKA GOLDBERG, MINOR, BY HER NEXT FRIEND AND GUARDIAN KAREN GOLDBERG,
  TZVI YEHOSHUA GOLDBERG, MINOR, BY HER NEXT FRIEND AND GUARDIAN KAREN
     GOLDBERG, YAAKOV MOSHE GOLDBERG, MINOR, BY HER NEXT FRIEND AND
 GUARDIAN KAREN GOLDBERG, YITZHAK SHALOM GOLDBERG, MINOR, BY HER NEXT
FRIEND AND GUARDIAN KAREN GOLDBERG, NEVENKA GRITZ, SOLE HEIR OF NORMAN
                              GRITZ, DECEASED,

                            Plaintiffs – Appellants,

                      UNITED STATES OF AMERICA,

                            Intervenor – Appellant,

                                    —v.—

    PALESTINE LIBERATION ORGANIZATION, PALESTINIAN AUTHORITY, AKA
   PALESTINIAN INTERIM SELF-GOVERNMENT AUTHORITY AND/OR PALESTINIAN
            COUNCIL AND/OR PALESTINIAN NATIONAL AUTHORITY,

                            Defendants – Appellees,




                                       2
          Case 22-1060, Document 175-1, 09/08/2023, 3566012, Page3 of 20




  YASSER ARAFAT, MARWIN BIN KHATIB BARGHOUTI, AHMED TALEB MUSTAPHA
  BARGHOUTI, AKA AL-FARANSI, NASSER MAHMOUD AHMED AWEIS, MAJID AL-
  MASRI, AKA ABU MOJAHED, MAHMOUD AL-TITI, MOHAMMED ABDEL RAHMAN
SALAM MASALAH, AKA ABU SATKHAH, FARAS SADAK MOHAMMED GHANEM, AKA
   HITAWI, MOHAMMED SAMI IBRAHIM ABDULLAH, ESTATE OF SAID RAMADAN,
 DECEASED, ABDEL KARIM RATAB YUNIS AWEIS, NASSER JAMAL MOUSA SHAWISH,
  TOUFIK TIRAWI, HUSSEIN AL-SHAYKH, SANA'A MUHAMMED SHEHADEH, KAIRA
SAID ALI SADI, ESTATE OF MOHAMMED HASHAIKA, DECEASED, MUNZAR MAHMOUD
 KHALIL NOOR, ESTATE OF WAFA IDRIS, DECEASED, ESTATE OF MAZAN FARITACH,
   DECEASED, ESTATE OF MUHANAD ABU HALAWA, DECEASED, JOHN DOES, 1-99,
                          HASSAN ABDEL RAHMAN,

                                 Defendants. *
                     ___________________________________
      Before: LEVAL AND BIANCO, Circuit Judges, AND KOELTL, District Judge. **

       The plaintiffs, a group of United States citizens injured during terror attacks
in Israel and the estates or survivors of United States citizens killed in such attacks,
brought this action against the Palestine Liberation Organization (“PLO”) and the
Palestinian Authority (“PA”) pursuant to the Anti-Terrorism Act (“ATA”), 18
U.S.C. § 2333, seeking damages for alleged violations of the ATA related to those
attacks. This Court concluded on appeal that the district court lacked both general
and specific jurisdiction over the PLO and the PA, and we therefore vacated the
judgment entered against the defendants and remanded the action for dismissal.
The plaintiffs later moved to recall the mandate in this case based on a new statute,
the Anti-Terrorism Clarification Act of 2018, Pub. L. No. 115-253, 132 Stat. 3183.
We denied that motion because the statute’s prerequisites had not been met.
       Congress responded with the statute now at issue, the Promoting Security
and Justice for Victims of Terrorism Act of 2019 (“PSJVTA”), Pub. L. No. 116-94,
§ 903(c), 133 Stat. 2534, 3082. The PSJVTA provides that the PLO and the PA “shall
be deemed to have consented to personal jurisdiction” in any civil ATA action if,
after a specified time, those entities either (1) make payments, directly or


* The Clerk of Court is directed to amend the official caption as set forth above.

** Judge John G. Koeltl, of the United States District Court for the Southern District of
New York, sitting by designation.
                                             3
         Case 22-1060, Document 175-1, 09/08/2023, 3566012, Page4 of 20




indirectly, to the designees or families of incarcerated or deceased terrorists,
respectively, whose acts of terror injured or killed a United States national, or
(2) undertake any activities within the United States, subject to limited exceptions.
18 U.S.C. § 2334(e). In light of this new statute, the Supreme Court vacated and
remanded our decision denying the motion to recall the mandate, and we in turn
remanded the case to the district court for the limited purpose of considering the
PSJVTA. The district court (Daniels, J.) concluded that the defendants had engaged
in jurisdiction-triggering conduct under the statute, but that the PSJVTA violated
constitutional due process requirements. Both the plaintiffs and the Government
now dispute the latter conclusion, and the plaintiffs argue generally that the
PSJVTA justifies recalling the mandate.
       In Fuld v. Palestine Liberation Organization, __ F.4th __, No. 22-76 (2d Cir.
Sept. 8, 2023), which we also decide today, we conclude that the PSJVTA’s
provision for “deemed consent” to personal jurisdiction is inconsistent with the
Fifth Amendment’s Due Process Clause. Thus, no basis exists to recall the mandate
in this case, and the plaintiffs’ motion to recall the mandate is DENIED.
______________

                          KENT A. YALOWITZ, Arnold & Porter Kaye Scholer LLP,
                          New York, NY (Avishai D. Don, Arnold & Porter Kaye
                          Scholer LLP, New York, NY, Allon Kedem, Dirk C.
                          Phillips, Stephen K. Wirth, Bailey M. Roe, Arnold &
                          Porter Kaye Scholer LLP, Washington, D.C., on the brief),
                          for Plaintiffs-Appellants.

                          MITCHELL R. BERGER, Squire Patton Boggs (US) LLP,
                          Washington, D.C. (Gassan A. Baloul, Squire Patton
                          Boggs (US) LLP, Washington, D.C., on the brief), for
                          Defendants-Appellees.

                          BENJAMIN H. TORRANCE, Assistant United States
                          Attorney, Of Counsel for Damian Williams, United States
                          Attorney for the Southern District of New York, New
                          York, NY (Brian M. Boynton, Principal Deputy Assistant
                          Attorney General, Sharon Swingle, Attorney, Appellate
                          Staff, Civil Division, U.S. Department of Justice,

                                         4
         Case 22-1060, Document 175-1, 09/08/2023, 3566012, Page5 of 20




                           Washington, D.C., on the brief), for Intervenor-Appellant
                           United States of America.

                           Tejinder Singh, Sparacino PLLC, Washington, D.C., for
                           Amici Curiae Abraham D. Sofaer and Louis J. Freeh in
                           Support of Plaintiffs-Appellants and Intervenor-Appellant.

                           J. Carl Cecere, Cecere PC, Dallas, TX, for Amici Curiae
                           Senators and Representatives Charles E. Grassley, Jerrold
                           Nadler, Richard Blumenthal, James Lankford, Sheldon
                           Whitehouse, Kathleen Rice, Bradley E. Schneider, and Grace
                           Meng in Support of Plaintiffs-Appellants and Intervenor
                           Appellant.

                           Joshua E. Abraham, Abraham Esq. PLLC, New York, NY,
                           for Amici Curiae Constitutional Law Scholars Philip C.
                           Bobbitt, Michael C. Dorf, and H. Jefferson Powell in Support
                           of Plaintiffs-Appellants.

                           Dina Gielchinsky, Osen LLC, Hackensack, NJ, for Amici
                           Curiae Organizations Providing Support to Victims of Terror
                           in Support of Plaintiffs-Appellants.

                           Tad Thomas, Jeffrey R. White, American Association for
                           Justice, Washington, D.C., for Amici Curiae American
                           Association for Justice in Support of Plaintiffs-Appellants.
______________

PER CURIAM:

      The plaintiffs, a group of United States citizens injured during terror attacks

in Israel and the estates or survivors of United States citizens killed in such attacks,

brought this action against the Palestine Liberation Organization (“PLO”) and the



                                           5
         Case 22-1060, Document 175-1, 09/08/2023, 3566012, Page6 of 20




Palestinian Authority (“PA”) pursuant to the Anti-Terrorism Act (“ATA”), 18

U.S.C. § 2333, seeking damages for alleged violations of the ATA related to those

attacks. See id. § 2333(a). On appeal from a substantial post-trial judgment entered

against the defendants, this Court concluded that the district court lacked both

general and specific personal jurisdiction over the PLO and the PA. See Waldman

v. Palestine Liberation Org., 835 F.3d 317, 344 (2d Cir. 2016) (“Waldman I”), cert.

denied sub nom. Sokolow v. Palestine Liberation Org., 138 S. Ct. 1438 (2018)

(mem.). We accordingly vacated the judgment and remanded the action for

dismissal of the plaintiffs’ claims. Id. Our mandate issued on November 28, 2016.

      Since that time, Congress has twice enacted statutes purporting to establish

personal jurisdiction over the PLO and the PA on the basis of consent, which, when

validly given, may constitute an independent basis for subjecting a defendant to

suit in a forum lacking general and specific jurisdiction. See Burger King Corp. v.

Rudzewicz, 471 U.S. 462, 472 & n.14 (1985); Ins. Corp. of Ireland, Ltd. v.

Compagnie des Bauxites de Guinee, 456 U.S. 694, 703–04 (1982); see also Mallory

v. Norfolk S. Ry. Co., 143 S. Ct. 2028, 2039 (2023) (plurality opinion). After the

passage of the first such statute, the Anti-Terrorism Clarification Act of 2018

(“ATCA”), Pub. L. No. 115-253, 132 Stat. 3183, the plaintiffs moved to recall the



                                         6
         Case 22-1060, Document 175-1, 09/08/2023, 3566012, Page7 of 20




mandate in this case. In June 2019, we denied that motion because the ATCA’s

prerequisites for personal jurisdiction had not been satisfied. See Waldman v.

Palestine Liberation Org., 925 F.3d 570, 574–76 (2d Cir. 2019) (“Waldman II”) (per

curiam), cert. granted, judgment vacated sub nom. Sokolow v. Palestine Liberation

Org., 140 S. Ct. 2714 (2020) (mem.).

      Congress responded with the enactment of the statute now at issue, the

Promoting Security and Justice for Victims of Terrorism Act of 2019 (“PSJVTA”),

Pub. L. No. 116-94, § 903(c), 133 Stat. 2534, 3082. The PSJVTA provides that the

PLO and the PA “shall be deemed to have consented to personal jurisdiction” in

any civil ATA action, irrespective of “the date of the occurrence” of the underlying

“act of international terrorism,” upon engaging in certain forms of post-enactment

conduct, namely (1) making payments, directly or indirectly, to the designees or

families of incarcerated or deceased terrorists, respectively, whose acts of terror

injured or killed a United States national, or (2) undertaking any activities within

the United States, subject to a handful of exceptions. 18 U.S.C. § 2334(e)(1).

      The Supreme Court vacated and remanded our decision in Waldman II

in light of the PSJVTA’s enactment, see Sokolow, 140 S. Ct. 2714, and we in turn

remanded to the district court for the limited purpose of considering the new



                                          7
         Case 22-1060, Document 175-1, 09/08/2023, 3566012, Page8 of 20




statute’s effect on this case. The district court (Daniels, J.) concluded that the

defendants had engaged in jurisdiction-triggering conduct under the statute, but

that the PSJVTA’s “deemed consent” provision violated constitutional due process

requirements. The plaintiffs dispute the latter conclusion, and they argue generally

that the PSJVTA justifies recalling this Court’s mandate. The Government, as

intervenor pursuant to 28 U.S.C. § 2403(a) and Federal Rule of Civil Procedure

5.1(c), joins the plaintiffs in defending the PSJVTA’s constitutionality.

      We address the very same constitutional issue in Fuld v. Palestine

Liberation Organization, __ F.4th __, No. 22-76 (2d Cir. Sept. 8, 2023), which we

also decide today. In Fuld, we conclude that the PSJVTA’s provision for “deemed

consent” to personal jurisdiction is inconsistent with the Due Process Clause of the

Fifth Amendment. Thus, the statute cannot be applied to establish personal

jurisdiction over the PLO or the PA, and as a result, no basis exists to recall the

mandate in this case.

                                I. BACKGROUND

      We assume familiarity with Waldman I, Waldman II, and our decision

today in Fuld, which collectively detail the history of this litigation and the

relevant statutory background.



                                          8
          Case 22-1060, Document 175-1, 09/08/2023, 3566012, Page9 of 20




      The plaintiffs commenced this action against the PLO and the PA in 2004,

invoking the ATA’s civil damages remedy for “national[s] of the United States

injured . . . by reason of an act of international terrorism.” 1 18 U.S.C. § 2333(a).

Throughout the pretrial proceedings, the PLO and the PA repeatedly moved to

dismiss the claims against them for lack of personal jurisdiction. All of those

motions were denied. The district court determined that it could exercise general

jurisdiction over the defendants, see Sokolow v. Palestine Liberation Org., No. 04-

cv-397, 2011 WL 1345086, at *7 (S.D.N.Y. Mar. 30, 2011), even after the Supreme

Court narrowed the applicable test for general jurisdiction in Daimler AG v.

Bauman, 571 U.S. 117 (2014). 2 See Sokolow v. Palestine Liberation Org., No. 04-cv-

397, 2014 WL 6811395, at *1 (S.D.N.Y. Dec. 1, 2014).

      After a seven-week trial beginning in January 2015, a jury found the

defendants liable for six of the terror attacks at issue and awarded damages of




1As explained in Fuld, the PA was established under the 1993 Oslo Accords to serve as
the non-sovereign and interim governing body of parts of the Gaza Strip and the West
Bank (collectively referred to here as “Palestine”). The PLO, an entity founded in 1964,
conducts Palestine’s foreign affairs and serves as a Permanent Observer to the United
Nations on behalf of the Palestinian people.

2 For procedural reasons not relevant here, the proceedings before the district court are
captioned differently, as Sokolow v. Palestine Liberation Organization, No. 04-cv-397
(S.D.N.Y.).
                                           9
         Case 22-1060, Document 175-1, 09/08/2023, 3566012, Page10 of 20




$218.5 million, an amount automatically trebled to $655.5 million pursuant to the

ATA. See Waldman I, 835 F.3d at 322, 324; 18 U.S.C. § 2333(a). During the trial and

again in post-trial briefing, the defendants unsuccessfully reasserted their

argument that the case should be dismissed for lack of personal jurisdiction. The

district court rejected those arguments and entered final judgment. The

defendants then made the same arguments on appeal to this Court.

      In Waldman I, this Court agreed with the defendants. The decision

explained that the PLO and the PA have a Fifth Amendment due process right not

to be sued in a forum with which they have insufficient contacts, see Waldman I,

835 F.3d at 329, and that the personal jurisdiction analysis is “basically the same

under both the Fifth and Fourteenth Amendments,” id. at 330. Applying Daimler,

we determined that the district court lacked general jurisdiction because the PLO

and the PA are not “at home” in the United States, but “in Palestine, where these

entities are headquartered and from where they are directed.” Id. at 334 (emphasis

omitted) (citing Daimler, 571 U.S. at 139 n.20). We also found that the district court

could not subject the defendants to specific jurisdiction, given the absence of any

“substantial connection” between their “suit-related conduct — their role in the

six terror attacks at issue — [and] . . . the forum.” Id. at 335 (citing Walden v. Fiore,



                                           10
         Case 22-1060, Document 175-1, 09/08/2023, 3566012, Page11 of 20




571 U.S. 277, 284 (2014)). Thus, “[t]he district court could not constitutionally

exercise either general or specific personal jurisdiction over the defendants.” Id. at

344. We vacated the judgment of the district court and remanded the action “with

instructions to dismiss the case for want of personal jurisdiction.” 3 Id. at 322.

      Our mandate issued on November 28, 2016. See Judgment Mandate, No. 15-

3135, Doc. No. 248 (2d Cir. Nov. 28, 2016). The plaintiffs then filed a petition for a

writ of certiorari, which was denied in April 2018. See Sokolow, 138 S. Ct. at 1438.

      Congress responded to Waldman I and similar decisions with the enactment

of the ATCA, Pub. L. No. 115-253, 132 Stat. 3183, a precursor to the statute at issue

here. The ATCA amended the ATA to include a new subsection, 18 U.S.C.

§ 2334(e), which provided that a defendant would “be deemed to have consented

to personal jurisdiction in . . . [a civil ATA] action if,” following a 120-day period

after the ATCA’s enactment, the defendant (1) “accept[ed]” certain “form[s] of



3 As discussed in Fuld, the United States Court of Appeals for the District of Columbia
Circuit similarly concluded that federal courts lacked both general and specific
jurisdiction over the PLO and the PA in civil ATA cases related to terrorist activity
abroad. See Livnat v. Palestinian Auth., 851 F.3d 45, 54–58 (D.C. Cir. 2017) (concluding
that exercising general or specific jurisdiction over the PA would not “meet the
requirements of the Fifth Amendment’s Due Process Clause”), cert. denied, 139 S. Ct. 373
(2018) (mem.); see also Shatsky v. Palestine Liberation Org., 955 F.3d 1016, 1036–37 (D.C.
Cir. 2020) (same as to both the PLO and the PA); Est. of Klieman v. Palestinian Auth., 923
F.3d 1115, 1123–26 (D.C. Cir. 2019) (same), judgment vacated on other grounds, 140 S. Ct.
2713 (2020) (mem.), opinion reinstated in part, 820 F. App’x 11 (D.C. Cir. 2020) (mem.).
                                           11
         Case 22-1060, Document 175-1, 09/08/2023, 3566012, Page12 of 20




assistance” from the United States, or (2) “maintain[ed]” an office “within the

jurisdiction of the United States” pursuant to a waiver or suspension of 22 U.S.C.

§ 5202, a provision barring the PLO from operating any such office. ATCA § 4, 132

Stat. at 3184. The ATCA took effect on October 3, 2018.

      Several days later, on October 8, 2018, the plaintiffs filed a motion to recall

the November 2016 mandate issued in this action. The plaintiffs argued that the

ATCA established personal jurisdiction over the defendants with regard to the

previously dismissed claims. We rejected that contention in Waldman II,

reasoning that “[t]he plaintiffs ha[d] not shown that either factual predicate . . . of

the ATCA [was] satisfied.” 925 F.3d at 574. Specifically, the plaintiffs did not

dispute that the PLO and the PA were no longer “accept[ing] qualifying

assistance” from the United States, and they had failed to show that the defendants

were maintaining any offices “within the jurisdiction of the United States” while

“benefit[ing] from a waiver or suspension” of 22 U.S.C. § 5202. Id. at 574–75. For

these reasons, and in light of “[t]his Court’s interest in finality,” we concluded that

the circumstances did not “warrant invoking the extraordinary remedy of

recalling a mandate issued two and a half years” earlier. Id. at 575–76.




                                          12
         Case 22-1060, Document 175-1, 09/08/2023, 3566012, Page13 of 20




Accordingly, on June 3, 2019, the plaintiffs’ motion to recall the mandate was

denied. Id. at 576.

       While the plaintiffs’ petition for a writ of certiorari from Waldman II was

pending, Congress acted again, this time enacting the PSJVTA on December 20,

2019. See Pub. L. No. 116-94, § 903(c), 133 Stat. 2534, 3082. A detailed description

of the PSJVTA is set forth in Fuld. Briefly, § 903(c) of the PSJVTA superseded the

ATCA provision codified at 18 U.S.C. § 2334(e), resulting in a narrowed definition

of the term “defendant,” which now refers solely to the PLO, the PA, and any

“successor[s]” or “affiliate[s]” thereof. 4 18 U.S.C. § 2334(e)(5). The PSJVTA also

specified new post-enactment conduct that would be “deemed” to constitute

“consent” to personal jurisdiction in civil ATA actions, “regardless of the date of

the occurrence of the act of international terrorism upon which such civil action

was filed.” Id. § 2334(e)(1).

       These new factual predicates for “deemed consent” are listed in two prongs,

subparagraphs (A) and (B) of 18 U.S.C. § 2334(e)(1). The first prong provides that



4As stated in Fuld, the PSJVTA also includes a number of additional provisions, but we
do not pass on the constitutionality of any portion of the PSJVTA other than § 903(c). For
purposes of clarity, this opinion refers to § 903(c) as the PSJVTA, which is consistent with
the opinion in Fuld, as well as with the nomenclature used in the district court’s decisions
and the parties’ briefs on appeal.


                                            13
         Case 22-1060, Document 175-1, 09/08/2023, 3566012, Page14 of 20




“a defendant shall be deemed to have consented to personal jurisdiction” if, after

April 18, 2020, the defendant “makes any payment, directly or indirectly”:

       (i) to any payee designated by any individual who, after being fairly
       tried or pleading guilty, has been imprisoned for committing any act
       of terrorism that injured or killed a national of the United States, if
       such payment is made by reason of such imprisonment; or

       (ii) to any family member of any individual, following such
       individual's death while committing an act of terrorism that injured
       or killed a national of the United States, if such payment is made by
       reason of the death of such individual.

Id. § 2334(e)(1)(A). Under the second prong, “a defendant shall be deemed to have

consented to personal jurisdiction” if, after January 4, 2020, the defendant

“continues to maintain,” “establishes,” or “procures any office, headquarters,

premises, or other facilities or establishments in the United States,” or otherwise

“conducts any activity while physically present in the United States on behalf of

the [PLO] or the [PA].” Id. § 2334(e)(1)(B). The PSJVTA exempts “certain activities

and locations” from the reach of this second prong, including, among others,

conduct related to “official business of the United Nations.” 5 Id. § 2334(e)(3).




5In particular, and as discussed in Fuld, the PSJVTA includes exceptions for facilities and
activities devoted “exclusively [to] the purpose of conducting official business of the
United Nations,” id. § 2334(e)(3)(A)–(B), specified activities related to engagements with
United States officials or legal representation, id. § 2334(e)(3)(C)–(E), and any activities
“ancillary to [those] listed” in these exceptions, id. § 2334(e)(3)(F). Congress also provided
                                             14
         Case 22-1060, Document 175-1, 09/08/2023, 3566012, Page15 of 20




      Several months after the PSJVTA’s enactment, the Supreme Court granted

the plaintiffs’ petition for a writ of certiorari, vacated the judgment in Waldman II,

and remanded the case “for further consideration in light of the [PSJVTA].”

Sokolow, 140 S. Ct. at 2714. On September 8, 2020, this Court in turn issued an

order pursuant to United States v. Jacobson, 15 F.3d 19, 22 (2d Cir. 1994),

remanding the action to the district court “for the limited purposes of determining

the applicability of the PSJVTA to this case, and, if the PSJVTA is determined to

apply, any issues regarding its application to this case including its

constitutionality,” Order, No. 15-3135, Doc. No. 368 (Sept. 8, 2020). We stated that

“[a]fter the district court has concluded its consideration, the case will be returned

to this Court for further proceedings,” and that in the meantime, the plaintiffs’

motion to recall the November 2016 mandate would be “held in abeyance.” Id.

      After this limited remand to the district court, the Government intervened

in the action to defend the constitutionality of the PSJVTA. See 28 U.S.C. § 2403(a);

Fed. R. Civ. P. 5.1(c). Several months later, on March 10, 2022, the district court

issued a decision related to the questions presented in our Jacobson remand order.

See Sokolow v. Palestine Liberation Org., 590 F. Supp. 3d 589 (S.D.N.Y.),



that the PSJVTA “shall apply to any case pending on or after August 30, 2016,” PSJVTA
§ 903(d)(2), 133 Stat. at 3085, just one day before this Court’s decision in Waldman I.
                                          15
         Case 22-1060, Document 175-1, 09/08/2023, 3566012, Page16 of 20




reconsideration denied, 607 F. Supp. 3d 323 (S.D.N.Y. 2022). The district court

found that the defendants had triggered the PSJVTA’s first prong, 18 U.S.C.

§ 2334(e)(1)(A), because the “[p]laintiffs ha[d] presented sufficient evidence to

support the determination that [the] [d]efendants . . . made [qualifying] payments

after April 18, 2020.” 6 Id. at 594. Nonetheless, the district court determined that

“[t]he conduct identified in the [first prong] is insufficient to support a finding that

[the] [d]efendants have consented to personal jurisdiction,” id. at 596, and

accordingly, the statute “violate[s] [constitutional] due process,” id. at 597.

       On March 24, 2022, we reinstated the proceedings concerning the plaintiffs’

motion to recall the mandate. The plaintiffs then moved for reconsideration of the

district court’s March 10, 2022 decision, specifically requesting that the district

court make factual findings under the PSJVTA’s second prong and consider its

constitutionality. We stayed the proceedings in this Court pending the resolution

of that motion.




6 Specifically, the district court found that the defendants had made payments “to the
families of individuals killed while committing acts of terrorism . . . [that] harmed U.S.
nationals,” thereby triggering 18 U.S.C. § 2334(e)(1)(A)(ii). Sokolow, 590 F. Supp. 3d at
594. The district court did not address whether the defendants had made payments to the
designees of incarcerated terrorists, see 18 U.S.C. § 2334(e)(1)(A)(i), and it also declined
to “reach the issue of whether the factual predicates in . . . 18 U.S.C. § 2334(e)(1)(B),” the
PSJVTA’s second prong, “ha[d] been met.” Sokolow, 590 F. Supp. 3d at 595 n.3.
                                             16
          Case 22-1060, Document 175-1, 09/08/2023, 3566012, Page17 of 20




       The district court denied the motion for reconsideration on June 15, 2022.

See Sokolow v. Palestine Liberation Org., 607 F. Supp. 3d 323, 324 (S.D.N.Y. 2022).

It declined to resolve the parties’ factual dispute as to whether the defendants’

United States activities were exempt from the PSJVTA’s second prong, because

“[e]ven accepting [the] [p]laintiffs’ argument” that no exception applied, the

“types of conduct” at issue did not evince “any intention on the part of [the]

[d]efendants to legally submit to suit in the United States.” 7 Id. at 326. In light of

that determination and its March 10, 2022 decision, the district court concluded

that “the exercise of [personal] jurisdiction under either of the PSJVTA’s two

jurisdiction-triggering prongs would violate due process.” Id. at 327–28.

       With the plaintiffs’ motion for reconsideration resolved, we lifted the stay

on these proceedings concerning the motion to recall the mandate.




7 To support their argument that the defendants had engaged in nonexempt activities
“while physically present in the United States,” 18 U.S.C. § 2334(e)(1)(B)(iii), the plaintiffs
pointed to the defendants’ “provision of consular services in the United States, their
interviews with prominent media and social media activity, and their maintenance of an
office in New York.” Sokolow, 607 F. Supp. 3d at 325. The defendants did “not dispute”
that they had engaged in these activities; instead, the defendants argued that all of the
conduct in question fell within the PSJVTA’s exemptions for UN-related conduct. Id. at
325–26; see 18 U.S.C. § 2334(e)(3)(A), (F). The district court found that it was unnecessary
to resolve this issue, and we need not resolve it on appeal.
                                              17
         Case 22-1060, Document 175-1, 09/08/2023, 3566012, Page18 of 20




                                  II. DISCUSSION

      Our principal task is to give “further consideration” to the motion at issue

in Waldman II — that is, the plaintiffs’ October 2018 motion to recall this Court’s

November 2016 mandate — “in light of the [PSJVTA].” Sokolow, 140 S. Ct. at 2714.

      “We possess an inherent power to recall a mandate, subject to review for

abuse of discretion.” Taylor v. United States, 822 F.3d 84, 90 (2d Cir. 2016) (internal

quotation marks omitted and alteration adopted). However, “[i]n recognition of

the need to preserve finality in judicial proceedings, . . . we exercise [this] authority

sparingly and only in exceptional circumstances.” Id. (internal quotation marks

omitted and alteration adopted); see also Calderon v. Thompson, 523 U.S. 538, 550

(1998). In some cases, the enactment of a new statute might justify the exercise of

our power to recall a previously issued mandate. Cf. Sargent v. Columbia Forest

Prods., Inc., 75 F.3d 86, 90 (2d Cir. 1996) (noting that a recall may be warranted

where changes in governing law cast serious doubt on a previous judgment). But

given today’s decision in Fuld, this case is not one of them.

      The plaintiffs make a variety of arguments in support of their position that

“[t]his Court should recall the mandate, apply the PSJVTA in this case, and

remand to the district court with instructions to reinstate its original judgment



                                           18
         Case 22-1060, Document 175-1, 09/08/2023, 3566012, Page19 of 20




based on the jury’s verdict.” Pls.’ Br. at 2. All of those arguments, however, flow

from the premise that the PSJVTA “establishes [consent-based] personal

jurisdiction” over the PLO and the PA in a manner consistent with due process.

Id. at 26. We reach the opposite conclusion today in Fuld, and we incorporate the

entirety of Fuld’s analysis here. Thus, as set forth in Fuld, the PSJVTA’s provision

for “deemed consent” to personal jurisdiction violates the Fifth Amendment’s Due

Process Clause.

      Because we find in Fuld that the PSJVTA is unconstitutional, the statute

cannot be applied to establish personal jurisdiction over the PLO or the PA in this

case. Accordingly, no basis exists to recall the November 2016 mandate that issued

after Waldman I, where we determined that the plaintiffs’ claims had to be

“dismiss[ed] . . . for want of personal jurisdiction.” 835 F.3d at 322. In view of this

conclusion, it is unnecessary to address the parties’ various disputes that assume

the constitutionality of the PSJVTA.

      We reiterate that the terror attacks at issue in this litigation were

“unquestionably horrific.” Id. at 344. But as we stated in Waldman I and reaffirm

today in Fuld, “the federal courts cannot exercise jurisdiction in a civil case beyond

the limits” of the Due Process Clause, “no matter how horrendous the underlying



                                          19
        Case 22-1060, Document 175-1, 09/08/2023, 3566012, Page20 of 20




attacks or morally compelling the plaintiffs’ claims.” Id. The PSJVTA’s provision

for “deemed consent” to personal jurisdiction exceeds those constitutional limits,

and accordingly, the statute supplies no basis for taking the extraordinary step of

recalling this Court’s mandate.

                                  CONCLUSION

      We have considered all of the arguments of the parties and their amici. To

the extent not specifically addressed above, those arguments are either moot or

without merit. For the foregoing reasons, the plaintiffs’ motion to recall the

November 2016 mandate is DENIED.




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